                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           BRYSON CITY DIVISION
                                  2:06cr35


UNITED STATES OF AMERICA,                          )
                                                   )
Vs.                                                )             ORDER
                                                   )
BARBARA VIVIAN BAILEY,                             )
                                                   )
                  Defendant.                       )
________________________________________           )


       THIS CAUSE coming on to be heard and being heard before the undersigned upon

a violation report filed in the above entitled cause on June 22, 2007 by the United States

Probation Office. In the violation report the United States Probation Office alleged that the

defendant had violated terms and conditions of her pretrial release. At the call of this matter

on for hearing it appeared that the defendant was present with her attorney, James Rice Jr.,

and that the Government was present through Assistant United States Attorney, Corey Ellis,

and from the evidence offered and from the statements of the Assistant United States

Attorney and the attorney for the defendant, and the records in this cause, the court makes

the following findings.

       Findings:    At the call of the matter, the defendant, by and through her attorney,

admitted the allegations contained in the violation report filed on June 22, 2007. The

Government introduced, without objection, the violation report into evidence. The defendant

was charged, in a bill of indictment filed on December 5, 2006 with conspiracy to distribute

methamphetamine. On December 21, 2006, a hearing was held in regard to the detention



        Case 2:06-cr-00035-MR           Document 91        Filed 08/22/07      Page 1 of 4
of the defendant. On that date, the undersigned entered an order releasing the defendant on

a $25,000.00 unsecured bond. The undersigned further set conditions of release which

included the following:

       (1)    That the defendant shall not commit any offense in violation of federal, state

              or local law while on release in this case.

       On June 22, 2007, a search was performed at Ms. Bailey’s residence and at that time,

drug paraphernalia was found. The defendant was placed under arrest by the Cherokee

County Sheriff’s Office based upon allegations that the defendant had committed the

offenses of misdemeanor possession of drug paraphernalia and felony maintaining a dwelling

place for the purpose of keeping a controlled substance.

       Discussion. 18 U.S.C. § 3148(b)(1) provides as follows: The judicial officer shall

enter an order of revocation and detention if, after a hearing, the judicial officer -----

       (1)     finds that there is----
               (A) probable cause to believe that the person has committed a
       Federal, State, or local crime while on release; or
               (B) clear and convincing evidence that the person has violated any
        other condition of release; and
       (2)     finds that ---
               (A) based on the factors set forth in section 3142(g) of this title, there
       is no condition or combination of conditions of release that will assure that the person
       will not flee or pose a danger to the safety of any other person or the community; or
               (B) the person is unlikely to abide by any condition or combination
       of conditions of release.

       If there is probable cause to believe that, while on release, the person committed a
       Federal, State, or local felony, a rebuttable presumption arises that no condition
       or combination of conditions will assure that the person will not pose a danger to
       the safety of any other person or the community.”

                                               2


        Case 2:06-cr-00035-MR          Document 91        Filed 08/22/07      Page 2 of 4
       Based upon the evidence, the undersigned finds that there is probable cause to believe

that the defendant committed a federal and state crime while on release. There is probable

cause to believe the defendant had drug paraphernalia in her possession which is a state

misdemeanor and the defendant also committed the offense of felony maintaining a dwelling

place for the purpose of keeping a controlled substance. Due to the fact that there is probable

cause to believe that the defendant committed a state felony, a rebuttable presumption arises,

pursuant to 18 U.S.C. § 3148, that no condition or combination of conditions would assure

that the defendant would not pose a danger to the safety of any other person or the

community.

       Due to the findings made above and further considering the presumption that has been

created and also considering the factors as set forth under 18 U.S.C. § 3142(g), it appears

there is no condition or combination of conditions of release that will assure that the

defendant will not pose a danger to the safety of any other person or the community. It is the

opinion of the undersigned that based upon the defendant’s actions, that it is unlikely that

the defendant will abide by any condition or combination of conditions of release. As a

result of the above referenced findings, the undersigned has determined to enter an order of

revocation revoking the unsecured bond and the terms of pretrial release previously issued

in this matter and entering an order detaining the defendant.




                                          ORDER



                                              3


        Case 2:06-cr-00035-MR           Document 91        Filed 08/22/07      Page 3 of 4
      IT IS, THEREFORE, ORDERED that the unsecured bond and terms and conditions

of pretrial release entered in this matter are hereby REVOKED and it is ORDERED that

the defendant be detained pending further proceedings in this matter.




                                            Signed: August 21, 2007




                                            4


       Case 2:06-cr-00035-MR       Document 91      Filed 08/22/07      Page 4 of 4
